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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 STINGRAY IP SOLUTIONS, LLC,                         §
                                                     §
         Plaintiff,                                  §   JURY TRIAL DEMANDED
                                                     §
 v.                                                  §   CIVIL ACTION NO. 2:21-cv-201-JRG
                                                     §   (Lead Case: 2:21-cv-195-JRG)
 SOMFY SA and SOMFY ACTIVITÉS SA,                    §
                                                     §
          Defendants.                                §   CIVIL ACTION NO. 2:21-cv-202-JRG
                                                     §   (Lead Case: 2:21-cv-196-JRG)
                                                     §
                                                     §


      JOINT MOTION TO STAY ALL DEADLINES AND NOTICE OF SETTLEMENT

        Plaintiff Stingray IP Solutions, LLC and Defendants Somfy SA and Somfy Activités SA

(collectively, the “Parties”) respectfully submit this Joint Motion to Stay All Deadlines and

Notice of Settlement. The Parties respectfully inform the Court as follows:

        The Parties have reached a settlement in principle of all matters in controversy, pending

documentation, and request that the Court stay all deadlines in the above-captioned cases as

related to the Parties for thirty (30) days.




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Dated: October 29, 2021                    Respectfully submitted,

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                                  CERTIFICATE OF CONFERENCE

        Pursuant to Local Rule CV-7(h), I certify that counsel for Plaintiff conferred with counsel

for Defendants on October 29, 2021, via e-mail and, as reflected in the body of the Motion, the

Parties agree to the form and substance of the Motion, the Motion is unopposed, and the parties

jointly submit it to the Court.

                                                     /s/ Jeffrey R. Bragalone
                                                     Jeffrey R. Bragalone


                                    CERTIFICATE OF SERVICE

        I hereby certify that counsel of record who are deemed to have consented to electronic

service are being served with a copy of this document via the Court’s CM/ECF system per Local

Rule CV-5(a)(3) on October 29, 2021

                                                     /s/ Jeffrey R. Bragalone
                                                     Jeffrey R. Bragalone




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